     Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 1 of 18



                                   IN THE UN ITED STATES DISTRJCT COURT
                                  FOR THE SOU THERN DISTRICT OF FLO RID A
                                        W EST PM M BEA CH DIV ISION

                                     CaseN o.

           JOHN ANTHONY CASTRO                             )
           12ParkPlace,Mansfield,TX 76063
           202                                              )               FILED BY n u                     DC .
                                                                                                              .
                -
                    594-4344                                )
                     Plaintiff,                             )
                                                            )                      JAh 26 2223
'
           v.                                               )                      Asoso s NonuE.
'.
.          D ON A LD J.                                     )                     s
                                                                                  CLUFI)
                                                                                   o.
                                                                                   .
                                                                                       KEzuIc:1sA.o-lséjm
                                                                                            -           :.
                     TRUM P                                 )
           1100S.OceanBlvd,Palm Beach,FL 33480              )
               Defendant.                                   )

                V ER IFIED C O M PL AIN T FO R DE CL AR ATO R Y A N D IN JUN C TIV E R ELIEF

          TO THE H ONORABLE COURT:

                     Plaintiff, JOHN ANTHONY CASTRO, appearing pr0 J:, tiles this Com plaint against

          DonaldJ.Trump (&1Mr.Trump''land allegesasfollows:
                                              EXECUTIVE SUM MARY

             1. The fram ersofSection 3 ofthe 14th A m endm entintended the constitutionalprovision

          to be both self-executing and to proveide a cause ofaction. M ore specifcally,the U nion sought
'

          to punish the insurrqctionary Confederacy by making their ability to hold public office
          tmconstitutipnal.Thef'ram ersdidthiswith thespecificintentofremovingthem orepolitically
'
          popularinsurrectionistsfrom theballotsincethey violatedtheiroathsofallegianceto theU.S.

          Constitution and the use ofpeacefulpoliticalm echanism s to non-violently resolve disputes.

          Based upon thisnovelintep retation of Section 3 ofthe 14th Am endm ent,Plaintiffbringsthis

          cause ofaction againstDefendantDonald J.Trump to havethe federaljudiciary make a
          declaration regarding everyone's legal rights and status, including, but not lim ited to a


          ORIGINAL COMPIAINT - CASTRO &.TRUMP
          Page 1 of18

'
;
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 2 of 18



  declaration regarding the constim tionality of Donald.J.Trump's presidentialcandidacy,to

  enjoinanyfurtherfundraisingorcnmpaigning,andtoenstlrethepreventionofhisinauguration
  in theeventtheRepublican Party isunabletopreventhisnomination and subsequentelection.

                                LEGAL N ATURE oy THE ACTION

         2.       This is a cause ofaction arising from Section 3 ofthe 14th Am endm entto the

  United StatesConstitution.

                  PlaintiffseeksdeclaratoryrelieftohaveDonaldJ.Trumpjudiciallyrecognized
  asineligible to hold public office forhaving given aid orcom fortto the insurrectioniststhat

  attacked ourU nited States Capitolon January 6,2021.

         4.       Plaintiff further seeks injunctive relief,if possible,to enjoin any further
  fundraising orcam paigning by D onald J.Trum p.

                                    JURISDICTION & V ENUE
              '
                  TllisCourthassubjectmatterjurisdictionoverthisactionptlrsuantto28U.S.C.
  j1331,andvenueisproperintllisdistrictpursuantto28U.S.C.j1391(b)(1).
                                            PARTIES

         6.       Plaintiff John Anthony Castro is a U.S. citizen and Republican primary

  presidentialcandidate (Candidate FEC ID NumberP40007320) forthe 2024 Presidential
  Election.

                  D efendant D onald John Trum p is a U .S. citizen and Republican prim ary

  presidentialcandidate (Candidate FEC ID NumberP80001571) forthe 2024 Presidential
  Election.

                             PLAINTIFF'SSTANDING TO BRING SUIT

                  't'o éstablish standing,aplaintiffmustshow thatithassuffered an Gtinjttry in


  ORIGINAL COMPLM NT - CASTRO &.TRUMP
  Page 2 of18
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 3 of 18



     factcaused by the challenged conductand redressable tllrough reliefsoughtf'
                                                                               rom thecourt.''l

                       The U .S.Court of A ppeals for the D .C .Circuit has explained thatpolitical

     com petitor standing isakin to econo'm ic com petitorstanding,w hereby a plaintiffhas standing

     to challenge a governm entaction thatbenetitsa plaintiffscompetitorto the detrimentofthe

     plaintiff.z Politicalcompetitorstanding, how ever,isonly availableto plaintiffswho can show

     thattheytGpersonallycompetelqinthesamearenawiththesamepartytowhom thegovernment
     has bestow ed the assertedly illegalbenefit.''3 The D .C.Circuithasalso held thatifa plaintiff

     can show heisatldirectand currentcom petitor,''then competitorstandingm ustberecognized

     as a m atterofestablished case 1aw .4 Courtshave recognized thata tûcandidate- asopposed to

     individualvotersandpoliticalaction groups- wouldtheoretically have standing based upon a

     tcompetitiveinjury'''ifhecouldshow thatlûhepersonallycompetesinthesamearenawiththe
     sam e party.,s5

                       Jolm Anthony Castro registered as a candidate with the Federal Election

     Com m ission and is directly and currently com peting against D onald J. Trum p for the

     Republican nom ination forthe Presidency ofthe U nited States. A s such,Plaintiffm eetsa11of

     thecriteria forstanding.

                       A feliow primary candidate,whoseinjurywould becompetitiveinjuryin the



     lShaysv.FEC,414F.3d76,83(D.C.Cir.2005)(citationomitted).
     2SeeShayse v.FEC,4l4F.3d76,87(D.C.Cir.2005).
     3Gottlieb v FEC,143F.
              .          3d618,621(D.C.Cir.1998)(internalquotationmarksomitted);seealsoFulaniv.
     Brad)f,935F.2d 1324,1327-28(D.C.Cir.1991)(holdingthatpresidentialcandidatedidnothaveitcompetitor
     standlng''tochallengeCPD'Stax-exemptstatuswherethecandidatewasnoteligiblefortax-exemptstams);
     Hassanv.FEC,893F.Supp.2d248,255(D.D.C.2012),afnd,No.12-5335,2013WL 1164506(D.C.Cir.
     Mar.11,2013)Cplaintiffcannotshow thathepersonallycompetesinthesamearenawithcandidateswho
     receivefundingundertheFundA ctbecausehehasnotshown thathe isorim m inently willbeeligibleforthat
     funding.n).
     4New W orldRadio,Inc.v.FCC, 294F.
                                     3d 164,170(D.C.Cir.2002)
     5H assan v. FEC,893F.Supp.2d248,255n.6(D.D.C.2012)(emphasesadded)(quotingGottlieb,143F.3dat
     621)
     ORIGINAL COU LAINT - CASTRO &.TRUMP
     Page 3 of18
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 4 of 18




  form of a diminution ofvotes and/or fundraising,has federaljudicialstanding to sue a
  candidatehe orshebelievesisineligibletohold office.6

         12. Plaintiff will suffer a concrete competitive injury if the constitutionally
  ineligible Donald J.Trump campaign comm ittee is permitted to raise funds,which puts

  Plaintiffatafundraising disadvantage.? lfthe federaljudiciary permitsDonald J.Trump's
  cam paigning,M r.Trum p w illbe the Republican Party'spresum ptivenom inee and com pletely

  dominate atfundraising. Thiswillsiphon offtensifnothundredsofm illionsofdollarsto a

  constitm ionally ineligible candidate in violation ofSection 3 ofthe 14th Am endm entto the

  U.S.Constitution.Thereisnoquestionthispoliticalcompetitorinjuryistraceabletotheactual
  com petitor,Donald J.Trum p.

                 Plaintiffunderstandsthatthe competitorstanding doctrine recognizesttparties

  sufferconstitutionalinjury infactwhen agencies...otherwiseallow increased competition.''8
  Inthiscase,the seemingly mosta'
                                ppropriatetim eto bring suitwould bewhen PlaintiffCastro

  and Defendant'trump both file paperwork in New Ham pshire,Pennsylvania,Georgia,and
  Arizonato appearon theballotasPresidentialcandidates,butthiscauseofaction isprimarily

  fordeclaratoryrelieftoresolvetheissueofconstitutionaleligibility priorto said action forthe

  sakeofjudieialeffciencywhenthetimearisestopreventtheissuefrom transfonningintoa
  non-justiciablepoliticalquestion giventherapidtimefrnmeoftheprimary electionseason.In
  accordance w ith the D .C . Circuit's ruling in M endoza v. Pcrcz, Plaintiff w ill suffer a

  constitmionalinjuryinfactsuo cienttoconferArticle111standing.g


  6SeeFulaniv. Lct
                 zgl/c,882F.2d62l(2dCir.1989).
  7SeeMcconnellv. FEC,540U .S.93,107,overruledon othergroundsby Citizens Unitedv. FEC,558U .S.
  310(2010).
  8SeeM endozav. Perez,754F.
                           3d 1002,1011(D.C.Cir.2014)(citingtoLa.A'
                                                                  nergpandpowerAuth.v.FERC,
  141F.3d364,367(D.C.Cir.1998)'
                              ,Sherleyv.Sebelius,610F.3d69,72-73(D.C.Cir.2010:.
  9M endoza v. Perez,754F.3d 1002(D.C.Ci
                                       r.2014)
  ORIGINAL COW IAINT - CASTRO &.TRUMP
  Page 4 of18
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 5 of 18




            14.    W hen Section 3 of the 14th Am endm ent was adopted, it was specifically

     designed to ensure thatnon-insurrectionistsdid nothave to politically com pete with the m ore

     popular pro-insurrectionistpoliticians in the South. It w as specifically designed to rem ove

     ovem helm ing popularpro-insurrectionistsfrom the ballot. Assuch,Plaintiffis notsimply

     w ithin the zone of interests; Plaintiff is the precise type of person Section 3 of the 14th

     A m endm entsoughtto protect.

            15.    Although theU .S.Suprem eCourtarguably abolishedthedocttineofprudential

     standinginfexmark,'oPlaintiffsatisfiesprudentialstandinginthathisinjuryisparticularized
     and concrete,he satisfies Article 1I1 standing,and he isw ithin the zone of interests soughtto

     beprotected by Section 3 ofthe 14th Amendm enttotheU .S.Constitution.l1

            16.    A llow ing D onald J.Trtlm p to continuebeing perceived asan eligible candidate

     in violation of Section 3 of the 14th Am endm ent of the U rlited States C onstitution through

     judicialinaction constitm esunlawfulinactionthatallowsacompetitiveinjurytoPlaintiffand
     bestow sa com petitive advantage in the sam e Republican prim al'y in w hich Plaintiffcom petes

     w ith D onald J.TnIm p.lz

                                 R ELEVANT LAW & L EGAL A NALYSIS

            17.     D onald J.Tnzm p is a declared candidate forthe R epublican nom ination forthe

     Presidenc'y ofthe U nited Statesforthe 2024 election season.

            18.     A rticle 1l,Section 1 oftheU nited StatesConstitution statesthatany person w ho

     entersthe Office ofthe Presidentofthe United StatesofAm erica shalltakethe following O ath

     orAffirmation:''1do solemnly swear(oraffirm)thatIwillfaithfully executetheOffice of


     10Lexmarklnt' l, lnc.v.StaticCont
                                     rolComponents,lnc.,572U.S.118(2014)
     11PublicCitizenv. FEC,788F.   3d312(DC Cir.2015).
     12SeeCitizensforResp.(j:Ethicsin Washingtonv.Trump,939F.3d131,143(2dCir.2019).
     ORIGINM COI HPT,AINT - CASTRO I
                                   J.TRUMP
     Page 5 of18
    Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 6 of 18




      PresidentoftheUnited States,and willto the bestofmy ability,preserve,protectand defend

      the Constitution ofthe U nited States.''

             19.     Sincethefotmding ofournation,those who assum ecivilorm ilitary positions

      underfederalor state law are required to take an oath and thereby state thatthey w illdefend

      the Constitm ion ofthe U nited Statesagainstallenem ies,foreign and dom estic.

             20.     Taking the side of a foreign enem y iscovered by the Treason Clause in Article

      111,Section 3,Clause 1 ofthe United States Constitution.Itstates:tt-l-reason againsttheU nited

      States,shallconsistonly in levying W aragainstthem,orin adheringto theirEnemies,giving

      them A id and Com fort.''

             21.     TheAnti-lnsurrectionQualificationClauseinSection3ofthe14thAmendment
      ofthe U nited States Constitution coverstaking the side ofa dom estic enem y.

                                  Anti-lnsurrectionQualification Clause
             22.     Section 3 of the 14th A m endm ent of the U nited States Constitm ion is best

      described asthe Anti-lnsurrection Qualification Clause.ltestablishes that,in orderto be
      eligible to hold any oftice in the U nited States,a person m usthave neverviolated an O ath of

      O ffice,which alw ays includes a pledge to supportthe U nited States Constim tion.

             23. TheAnti-lnsurrectionQualitkationClauseinSection3ofthe14thAmendment
      oftheUnited StatesConstitution statesthattlgnqoperson shallbeaSenatororRepresentative
      in Congress,orelector of President arld V ice President,orhold any office,civilor m ilitary,

      undertheU nited States,orunderany State,who,having previously taken an oath,asa m em ber

      of Congress,oras an officer ofthe United States,or as a m em berof any State legislam re,or

t     asanexecutiveorjudicialofficerofanyState,tosupporttheConstitutionoftheUnitedStates,
      shallhaveengagedininsurrectionorrebellionagainstthesnme,orgivenaidorcomforttothe


      ORIGINAL COA LM NT - CM TRO &.TRUMP
      Page 6 of18
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 7 of 18



     enemies thereof.But Congress m ay by a vote oftwo-thirds of each House,rem ove such

     disability-''

                                 A m endm entXIV ,Section 3,C lause 1

            24.      Clause 1ofSection 3 ofthe 14th Amendm entoftheUnited StatesConstitution

     reads:&çNo person shall...hold any office,civilormilitary,undertheUnited States,orunder

     any State,who,having previously taken an oath...to supportthe Constitm ion ofthe United

     States,shallhaveengagedin insurrection orrebellionagainstthesnme,orgiven aidorcomfort

     totheenemiesthereof.''

            25.      The w ord Glengaged'' for the pup ose of Sed ion 3 of the 14th A m endm ent

     Gtim plies,and wasintended to im ply,avoluntary effortto assisttheInsurrection...And further,

     the...actionmustspringfrom (ajwantofsympathywiththeinsurrectionarymovement.''l3
                     AstheU.S.Supreme Courthasarticulated,ttlwlithouta stattztory definition,
     (onemustjturntothephrase'splainmeaning.''l4
            27.      M eninm -W ebster's Dictionary defines an Elinsurrection'' to be tlan act or

     instance ofrevolting againstcivilauthority oran established governm ent.''An instanceisEûa

     step,stage,or situation view ed as partof a process or series ofevents.''Participation in the

     early orlate stages ofan eventstillconstitute çtal'
                                                       linstance.'' This w ould apply to the wife of

     United States Suprem e CourtJustice Clarence Thom as,Virginia Thomas,requiring Justice

     Thomas'mandatoryrecusalunder28U.S.C.j455,whichPlaintiffassertshereintopreserve
     forappeal.

                     Of the term tErevolting,''M errinm-W ebster says lGto renotmce. . . subjection.
                                                                                                   ''


     13See U.S.v.Powel  l,65N.C.709(C.C.D.N.C.1871).
     14See Tanzin v. Tanvir,141S.Ct.486,491(2020)(thereafterreferencingMerriam-Webster'sCollegiate
     Dictionaryfortheplainmeaningofaterm).
     ORIGINAL COMPLAINT - CASTRO &.TRUMP
     Page 7 of18
    Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 8 of 18




      Renounce isto Gtrefuse to follow,obey,orrecognize.''Subjection isbeing ttplaced tmder
      authority.''Thus,an insurrection include al1stages ofthe eventw herein at atIeastone stage
l
      therewasarefusalto recognizetheauthority ofan established governmentalbody,such asthe

      United States Senate and itscerem onialreading ofthe certified election resultsand engaging

      in violence to undermine b0th thatprocessand the U nited States Constim tion.

             29.     Donald J.Trum p sum moned the m ob to ournation's Capitol,organized and

      assem bled the mob,allowed weapons in the crowd by ordering security to 1etthem pass,

      radicalized themob with incendiary rhetoric,ordered them to m arch totheCapitol,refused to

      m ake public statem ents to denotm ce the violence and calloffthe m ob for 187 m inutes,and

      when itbecnm e clearthatthe m ob had failed to use violence to preventthe certification ofthe

      election results,then and only then,didformerPresidentDonald J.Trump orderthem ob to go

1
.
      hom e,butnot before saying ltw e love you''and calling the violentm ob tGvery special''after

      they had violently attacked the U nited States Capitol. A 11ofthese instancesw ere partof the

      overallJanuary 6 Insurrection in w hich D onald J.Trum p w asdirectly and irrefutably involved.

             30.     Clause 1of Section 3 ofthe 14th A m endm entto the U nited StatesConstitution

      declares that anyone deem ed to have engaged in insurrection are çtenem ies.''H ow ever,less

      focus is given to the factthat Section 3 sim ilarly disqualifies those w ho have given ttaid or

      com fort''to insurrectionists.

             31.      GtA id orcom fortm ay be given to an enem y by w ordsofencotlragem ent,orthe

      expression of an opinion,from one occupying an influentialposition.''ls

             32.     There is adistinction betw een dom estic ûGaid orcom fort''to insurrectionistsand

2     foreign Edaid and com fort''to invaders. This w as highlighted by President Andrew Johnson's



      15M cKeev. Young,2Bart
                           .El.Cas.422(1868).
      ORTGINM COMPT,ATNT - CASTRO v.TRUMP
      Page 8 of18
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 9 of 18



     commentsto aNew Hampshiredelegation thatts-l-reason isacrime and mustbepunished asa

     crim e...ltm ustnotbe excused as an unsuccessfulrebellion.''l6 Itw as later reasoned thatif

     iûinsurrection and levying warwasacceptedastreason,hundredsofthousandsofm en,mostof

     them youths, w ere guilty of the offense that carried a m andatory sentence of death by

     hanging.''l; Gtrl-o the Congress, theo1d 1aw wasunworkableforthegcivilW ar)...gthus,on1

     July 31,1861,Congresspassed a 1aw which provided that anyone fotmd guilty ofconspiracy

     to overthrow the United StatesGovernmentorto interferewith theoperation ofitslawsshall

     beguilty ofahigh crim e-''lB

            33.     tt-l-he offenses for w hich exclusion from office is denounced are not m erely

     engaging in insurrection...butthe giving ofaid or com fortto theirenem ies.''lg In thatcase,

     Judge Chase,whom him selfw asbalancing hisneed for im pm iality with his desire to pursue

     the Presidency,insinuated thatthe inclusion of the ttaid or com fort''disqualifier in Section 3

     ofthe 14th Am endm entapplied only inthecontextofa foreign invasion orwar.JudgeChase

     w as an abolitionistbutstillan am bitiousand aspiring politician who considered cam paigning

     forthePresidency and did notwantto upsetthe South by declaring thatthe reference in Section

     3 to tlenem ies''applied to the ins= ectionists and rebels that fought for the Confederacy.

     Giving lsaid and com fort''to foreign enem ies w as already covered by the Treason Clause in

     Article 111, Section 3, Clause 1 of the United States Constitution. Section 3 of the 14th

     A m endm ent,being a post-civilw aram endm ent,w asrefening solely to dom estic enem iesthat

     engaged in insurrection orrebellion againsttheU nited Statesand had previously given an oath



     16SeeJ.G .Randall, TheCi
                            vilWarandReconstruction 707(1937)(firstomissioninoriginal).
     17SeeJonathan Trum an Dorris,PardonandAmnesty UnderLincolnandlohnson-TheRestorationofthe
     ConfederatestoTheirRightsandPrivileges1861-1898,at4(1953).
     18SeeC.EllenConnally,TheUseoftheFourteenthAmendmentbySalmonP.ChaseintheTrialofleferson
     Dtzv9,42AkronL.Rev.1165,1l65(2009).
     19InreGrl n,l1F.Cas.7(C.C.D.Va.1869).
     ORIGINAL COU LM NT - CASTRO &.TRUMP
     Page 9 of18
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 10 of 18



  to supportthe Constitution;thereby only targeting higher-levelofficialsthatare required to

  take oaths.

         34.     This is supported by the factthatthe ûEfinalversion of Section 3 reflected a

  refinem ent of the radicals'philosophy of fonnalequality.Opposition to the broader House

  proposalarose in partfrom the w idespread view thatm any Confederate soldiers,even if not

  conscripted,hadlittlerealchoicebuttojointheSouthem cause.Inthatlight,thefinalversion
  ofSection 3 wasnotlesspunitive so m uch asitwasm oretargeted.W hereasthe House version

  promised toaffecttherank andfile,theSenateversion would reach onlytheseniorleadership.

  M oreover,the Senate version was,in im portantw ays,harsher than the H ouse version.The

  H ouse m eastlre would have stm setin 1870 and applied only to federalelections.By contrast,

  thefinalversiongofSection31pennanentlyrenderedvirtuallytheentirepoliticalleadershipof
  the South ineligible for office,both state and federal.The tinal version of Section 3 thus

  reflededanuanced view :ascompared with felons,Confederateoffcialsweremoredeserving

  ofpunishm entand Southern footsoldiers w ere less so.''20

         35.     Every federal, state, and local public official that offered words of

  encouragement,show ofsym pathy,orexpression ofsupportforordefense of,theJanuary 6

  Insurrection m ust, pursuant to Section 3 of the 14th A m endm ent to the U nited States

  Constitution,bedeclared ineligible to hold any civilormilitary office in theUnited Statesat

  thefederal,state,orlocallevel.

         36.     Donald J.Tnzm p isnotthe only public officialineligibleto hold publicoffice

  under Section 3 ofthe 14th Amendment.Soon-to-be Defendants whose Plaintiffs will be



  20SeeRichardM .Re, ChristopherM.Re,Voti
                                        ngandVice.CriminalDisenjmnchisementandthe
  ReconstructionAmendments,121YaleL.J.l584,1622-23(2012),
                                                        .alsoseeEricFoner,Reconstruction:
  America'sUnhnishedRevolution 1863-1877,at259(1988).
  ORIGINM COMPLM NT - CASTRO &.TRUMP
  Page 10 of18
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 11 of 18




     primary challengerswithjudicialstandingto suewillinclude,butmostcertainly willnotbe
     limitedto,CongressmembersM arjorieTaylorGreene (R-Ga.),M o Brooks(R-Ala.),Lauren
     Boebert(R-Colo.),LouieGohmert(R-Texas),PaulGosar(R-Ariz.),andAndyBiggs(R-Ariz.)
     for giving tGaid orcom fort''to insun-ectionists.

                                 A m endm entM V ,Section 3,Clause 2

                    Clause2 ofSection 3ofthe 14th Am endmentto theUnited StatesConstitution

     reads'
          . Gicongress m ay, by a vote of tw o-third of each H ouse, rem ove such disability.''

     (Emphasisadded).
            38.     Plaintiff em phasizes the Constim tion's use of the tenn lteach'' since there

     appearsto be widespread m isconception thatonly the U .S.H ouse ofRepresentativesisneeded

     to rem ove the disqualifying disability,which stem sfrom the 1868 case ofButler.lz Therefore,

     if290 m em bers ofthe U .S.H ouse ofRepresentativesand 67 m em bersofthe U .S.Senate vote

     to remove the disqualifying disability,a person otherwise ineligible to hold office lmder

     Section 3 of the 14th A m endm ent could hold oftice. ln today's political clim ate, this is

     impossible.

                    Itisalso criticalto anticipatorily highlightthataPresidentialpardon doesnot

     remove this disability sincethe United States Constitution m ovidesthatonly Congressm ay

     liftthe disability.Thisis contrary to an old,outdated,and dearly biased Attom ey General

     Opinion from Southem Confederate Augustus Garland that atlem pted to lim it its scope; it

     inexplicably ignored the term ûteach''and suggested apresidentialpardon could remove the

     qualification disability notwithstanding theConstitution'scleazand exclusivereservation and

     delegation ofthatpow er solely to Congress.zz


     21SeeButler, 2Bart.El.Cas.46l(1868).
     22Seezfzwfon'sCase,18Op.Att y.Gen.149(1885).
     ORIGINAL COU LAINT - CASTRO &.TRUMP
     Page 11 of18
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 12 of 18



                                    Scope ofA m endm entX lV

         40.     The disqualitk ation applies to both civiland military positions at both the

  federaland statelevel,whichhasbeenjudiciallydeterminedtoevenincludealocalconstable
  Position-z3

         41. tt-fherecan beno officewhich isnoteitherlegislative,judicial,orexecutive
  gcoveredby Section3ofthe14thAmendmentbecause!...itembraceseveryoffice...fand)it
  waspassed topunish thosehigh in authority...fortheirbad faith towardthegovernm entthey

  hadsworn gintheiroathofofticejto support.''z4
         42.     lû-f'
                     he am endm entappliesto a11the states ofthe U nion,to al1oflices underthe

  United Statesorunderany state,and to al1personsin the category ofprohibition,and fora1l

  tim epresentand f'um re.''zs Itisa lifetime ban from publicoffice.

                 As m entioned before, Section 3 of the 14th A m endm ent is m erely an Anti-

  Insurredion Qualitscation Clause.Itwasnotintended tobeapunishmentforsomeonewho
  engaged in an insurrection orgave aid orcom fortto insurred ionistsany m ore than the N atural

  Bolm Citizen qualification clause isptm itive.Ifyou arenota nam ralborn citizen ofthe United

  States,you cannothold the Office ofthe Presidency.Ifyou violated youroath ofoffice by

  engaging in an insurrection,you cannot hold the Office of the Presidency.lt's a m ere

  qualification forthe office.

                                 Enforcem ent ofA m endm entM V

         44.     ln an attempt to neutralize Section 3 of the 14th Am endment,           som e

  com m entators dating as farback as 1868 developed the legaltheory thatthisprovision ofthe



  23See U.S.v.Powell,65N.
                        C.709(C.C.D.
                                   N.C.l871).
  24Id
  25Inre(Jry/zn,11F.Cas.7(C.C.D.Va.1869).
  ORIGINAL COMPLMNT - CASTRO &.TRUMP
  Page 12 of18
    Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 13 of 18




         United StatesConstitution wasunenforceable withoutenabling legislation.Such a suggestion

         is legally baseless,patently frivolous,and w holly withoutm erit.

                45.        ln fact,itw asthe Presidentofthe Confederacy,Jefferson D avis,who,in 1868,

         contended thatSection 3 wl,
                                   &self-executing and,therefore,barred hiscrim inaltrialfortreason.

         SeeGerardN Magliocca,AmnestyandsectionThreeoftheFourteenthAmendment,36Const.
         Comment.87 (2021).Moreover,itwasJudgeChasewhoagreedin JeffersonDavis'criminal
         trialthat Section 3 was self-executing'
                                               ,thereby im plicating the prohibition against Double

         Jeopardy.z6 Shortly thereafter, however,JusticeChasereversedhisposition and declared that

         Section 3 w as not self-executing when a black crim inaldefendantchallenged his conviction

         on thegroundsthatthejudgepresiding overhistrialfoughtforthe Confederacy and was,
         therefore,ineligible to preside over his trialrendering his guilty verdict nulland void.27

         Followingtheseirreconcilablerulingsfrom aclearlybiasedJusticeChasewhocouldnotm ake

         up his m ind,Congress decided to act on its own by enacting Section 3 enforcem ent statutes

         and,shortly thereafter,federalprosecutors began bringing actions to oustineligible officials,

         including halfofthe Tennessee Suprem e Court.28 Congress'enactm entoflegislation wasnot

         an admission thatSection 3 wasnotself-executing;itwas to avoid the lunacy of a clearly

(        biased,conflicted,and politically active ChiefJusticethatcould notperform the functionsof

         hisoffice in a neutral,intellectual,fair,and im partialm nnner.

                46.        In 1871,Am os Pow ellwas indicted,via an enabling statute m aking ita crime

         to know ingly violate Section 3 ofthe 14th Am endm ent,ûçfor accepting the office of sheriff



         26SeeCaseofDavis,7F.cas.63,90,92-94,(C.C.D.Va.1867)@ o.3,621a)(describingDavis'argumentand
         theGovernment'sresponse);1d.at102(notingtheChiefJustice'sview).
         27lnreGrl n,llF.Cas.7(C.C.D.Va.1869)@ o.5,815).
         28SeeActt p
                   /Az/'
                       tzp3l,1870(FirstKuKluxKlanAct),ch.ll4,j14,16Stat.140,143;id.atj15(imposing
                      ..

         criminalpenaltiesforknowingSectionThreeviolations);Sam D.Elliott WhentheUnitedStatesAttorneySued
         toRemoveHalftheTennesseeSupremeCourt:TheQuoWarrantoCasesof1870,49TennB.J.20(2013).
         ORIGINAL COU LM NT - CASTRO v.TRUMP
         Page 13 of18


:
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 14 of 18




  whendisqualifiedfrom holdingofficebythe14thAmendment...landthejindictmentcharged
  thatthe defendantknow ingly accepted office underthe state ofN orth Carolina,to w hich he

  WaS ineligible under the provisions Of the 3d section ofthe 14th Amendm ent.'og In other

  w ords,to attach crim inalpenalties,enabling legislation is absolutely required since Section 3

  ofthe 14th A m endm entm akesno reference to crim inalpenalties.

                 Congress m ust pass legislation m aking it a felony for anyone to aid in the

  inaugtlration or induction into public office anyone who has given aid or com fort to

  insurrectionistsin violation ofSection 3 ofthe 14th Am endment. Thiswould crim inalizeal1

  ofthe organizersofan inauguration contrary to theU .S.Constitm ion.

         48. Congresscertainlyhasjurisdictiontoexpelorexcludeitsownmembersthatit
  determ ineshave violated Section 3 ofthe 14th A m endm ent.3o How ever, itistmclear whether

  Congresscan unilaterally imposesaid disability on the Executive Branch sincethatcould be

  deem ed an encroachment on a separate branch of the federalgovemm ent.Nevertheless,a

  Congressionalfinding of liability would certainly aid the federaljudiciary's fact-finding
  m ission.

         49.     Plaintiffincop orates,by reference,allofthefindingsoftheU .S.House Select

  Com m ittee to Investigate the January 6th A ttack on the United StatesCapitol.

                 Historically,the neutralfinderoffactand arbiteroflaw hasbeen the federal

  judidary.Consistentwith ourprindplesoffederalism and separation ofpowers,itismore
  likelythatthefederaljudiciaryand,inparticular,theUnitedStatesSupremeCourtwouldbe
  the only authority thatthe draftersofSection 3 could have possibly envisioned as being the

  m ostcom petentand legitim atebodyto determ inewhetheranindividualisineligibleunderthe


  29See U.S.v.Powell,65N.
                        C.709(C.C.D.N.C.1871).
  30SeePowellv.M ccormack,395U.S.486(1969).

  ORIGINAL COMPLM NT - CASTRO &.TRUMP
  Page 14 of18
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 15 of 18




     Anti-lnsurrectionQualifcation Clause.
                                       FACTUAL A LLEGATIONS

                                    D onald J.Trum p'sR ole in the

                                        January 6 lnsurrection

                    On January 6,2021,D onald J.Tnlm p instructed his cnm paign supporters to

     ttfight like hell.'' There is no intep retation of this phrase that suggests law fuland peaceful

     m eansto resolve a dispute.

                    On January 6,2021,as insurrectionists laid siege to the U nited States Capitol,

     M r.Trum p took no action despite being repeatedly contacted by fnm ily and friends to calloff

     the attack;thereby im pliedly ratifying the insurrection.

            53.     W hen M r. Trum p fnally spoke on the m atter, speaking directly to the

     insurrectionists, he said ttwe love you, you're very special.'' These w ere w ords of

     encotlragem entand arlirrefm able display ofsym pathy w ith the insurrectionary m ovem ent.

            54.     On Saturday,January 29,2022,a little m ore than one year afterthe Jarm ary 6

     Insurrection,show ing absolutely no rem orse,M r.Trum p publicly declared thattllfInm and 1

     win,wewilltreatthosepeoplefrom January 6 fairly...and ifitrequirespardons,wewillgive

     them pardons.''M orewordsofencouragem ent,displaysofsympathy,and ratitication ofthe

     insurrectionary attack on the U nited States Capitol.

            55.     ln the entire history ofthe U nited States,there has never been a Presidentor a

     Presidentialcandidate thathaspublicly vowed to pardon criminals thatbrazenly attacked a

     separate branch ofthe federalgovernm ent.And one day,itm ay be this Courtor the U nited

     StatesSuprem e Cotu'
                        tthatinsurrectionistscom e looking forifad ion isnottaken today.

                                              COUNT O NE
                                     D ECLARE DONALD J.T RUM P

     ORIGINAL COMPIA INT - CASTRO &.TRUMP
     Page 15 of18
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 16 of 18



                     CONSTITUTIONALLY INELIGIBLE FOR PUBLIC O FFICE

                 PlaintiffincorporatesParagraphs 1through 55 asiffully setforth herein.

                 Basedona1loftheforegoingand inanticipationoflitigation instatecourtsonce

  both PlaintiffCastro and DefendantTrump file ballotaccessapplications,Plaintiffasksthis

  Courtto declare thatD onald J.Tnzm p did,in fact,provide aid orcom fortto the insurrectionists

  that attacked our U nited States Capitol on January 6, 2021, thereby rendering him

  constitutionally ineligible to hold public office pursuantto Section 3 ofthe 14th Am endm ent

  to the U nited States Constim tion.

                                       COUNT TW O
                E NJOIN D ONALD Z TRUM P FROM ENGAGING IN A NY FURTHER
                    POLITICAL C AM PAIGNING OR POLITICAL FUNDM ISING

         58.     PlaintiffincorporatesParagraphs 1through 57 asiffully setforth herein.

         59.     Based on the foregoing,the Courtm ust order Donald J.Tnzm p to cease al1

  politicalcam paigning and politicalfundraising asunconstitutionalactivitiesin directviolation

  ofSection 3 ofthe 14th A m endm ent.

                                        R ELIEF R EQUESTED

         W HEREFORE,Plaintiff,JOI4N A NTHONY CASTRO,requeststhatthisCourttinds that:

         A.      The January 6,2021,attack on the United States Capitolw as an insurrection

  w ithin the m eaning ofSection 3 ofthe 14th A m endm entto the U .S.Constitution.

                 Donald J.Tnzm p provided aid orcom fortto the insurrectionistsin the form of

  words ofencouragem entand expressions ofsupportspringing from a w antofsm pathy w ith

  theinsurrectionary attack on theUnited StatesCapitol.

         C.      A s such,Donald J.Trum p isconstitutionally ineligible to hold any public office

  in the United StatesofA m erica.


  ORIGINM COMPLM NT - CASTRO &.TRUMP
  Page 16 of18
Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 17 of 18




            D.     M oreover, D onald J. Trum p m ust im m ediately cease any and a11 political

     cam paigning and politicalfundraising.

                   Such otherand furtherreliefthatthis Courtdeem s equitable and proper,such

     as m andating thatD onald J.Trum p's cam paign reftm d alldonors.




                                                        Respectful subm itted


     January 6,2023                             By
                                                        JO     AN TH ON Y CA STRO
                                                        12 Park Place
                                                        M ansfield,TX 76063
                                                        Tel.(202)594 -4344
                                                        J.castro@ lohncastro.com
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     ORIGINAL COMPLMNT - CASTRO &.TRUMP
     Page 17 of18
    Case 9:23-cv-80015-AMC Document 1 Entered on FLSD Docket 01/06/2023 Page 18 of 18




                                                    V ER IFIC A TIO N

          1,Jolm A nthony Castro,declare asfollow s:

             1. lam theplaintiffin thepresentcase,aU.S.citizen,and an FEc-registered

                     Republicanprimarypresidentialcandidate(CandidateFEC ID NumberP40007320)
                     forthe2024 PresidentialElection.

             J. 1intend to f'
                            ully utilize allofm y skillsand know ledge to preventD onald J.Trtlm p

                     f'
                      rom being elected to orholding any public oftice in theU .S.

             J. Ihave personalfirst-hand know ledge ofthe m atterssetforth in this Com plaint,

                     including w itnessing D onald J.Tnzm p providing w ordsofcom fortto the

                     insurrectionists on live television,and,ifcalled upon to testify,1w ould com petently

                     testify as to the m attersstated herein.

.
             #. Pursuantto28U.S.C.j1746,1verifytmderpenaltyofperjtlrythattheentiretyofthe
                     foregoing Com plaintistrue and correct.




                      Executed on January 6,2023.




                                                                  J         A nthony Castro




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                                                                                                                 j

          ORIGINAL COU T,
                        ATNT - CASTRO IJ.TRUMP
          Page 18 of18                                                                                               '
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